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1    Douglas A. Crowder (SB # 140130)
     Crowder Law Center, P.C.
2
     303 N. Glenoaks Blvd., Suite 200
3    Burbank, CA 91502
     Tel. 213-509-1515
4    Fax 877-772-7094
5
     dcrowder@crowderlaw.com

6    Attorney for Creditor,
     Brackett Hangar LLC
7

8

9
                                UNITED STATES BANKRUPTCY COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA (LOS ANGELES)
11

12    In Re:                                                  Case No. 2:22-bk-15750-WB
13
      ZAHID A. SIDDIQI,                                       Chapter 13
14
                                                              OPPOSITION TO MOTION FOR ORDER
15             Debtor.                                        CONTINUING THE AUTOMATIC STAY;
                                                              DECLARATION OF ROSS ADACHI
16

17                                                            Date: 11/17/2022
                                                              Time: 02:00 PM
18                                                            Courtroom: 1375
                                                              Place: 255 E Temple St., Los Angeles, CA
19
                                                              90012
20                                                            Judge: Hon. Julia W. Brand

21

22
            PLEASE TAKE NOTICE that unsecured creditor, BRACKET HANGAR, Brackett Hangar

23
     LLC (“Brackett”) on the grounds set forth herein.

24
            1. FACTS

25
            Debtor leased the premises located at 2015 McKinley Avenue, Hangar F3/Office F3, La

26
     Verne, CA 91750 beginning on or about 3/1/2017. The lease was for a one year term, and

27
     extended for an additional one year. Debtor has thus been a month-to-month tenant since

28
     3/1/2019.
            Debtor ceased paying rent prior to June, 2020, and has not paid any since.
                                                           -1-
     _______________________________________________________________________________________________________________

                                                     OPPOSITION
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1              On or about 3/19/2021, Brackett served Debtor with a 3-Day Notice to Pay Rent or Quit.
2    The amount of unpaid rent at that time was $95,075.21. Debtor paid no rent in response to that
3    notice.
4              On 6/7/2021, Brackett filed an eviction lawsuit against Debtor, in the Superior Court of
5    California, County of Los Angeles, Case No. 21PSCV00470. According to a Proof of Service
6    signed by a registered process server, Debtor was personally served with the summons and
7    complaint on or about 6/21/2021.
8              Debtor did not file any response to the lawsuit, and on or about 1/27/2022, a Judgment
9    was entered against Debtor in the amount of $155,181.06. The judgment provided that “the
10   rental agreement is canceled,” and “the lease is forfeited.”
11             (On or about 11/2/2022, Debtor filed an ex parte motion with the L.A. Superior Court to
12   vacate the default judgment. I am informed that this motion was denied on or about
13   11/4/2022.)
14             A Writ of Execution was issued by the Superior Court on 8/15/2022, under which
15   Brackett was entitled to possession of the premises.
16             At some time shortly after that, Debtor left the premises, however he left a great number
17   of items on the premises, including automobiles, a spray booth, and various items of
18   equipment.
19             On or about 9/13/2022, Brackett provided Debtor with notice that he could remove the
20   items at any time prior to 10/3/2022, after which time, the items would be disposed of by sale
21   or otherwise.
22             Because of Debtor’s prior bankruptcy filing and his current one, Brackett has not gone
23   forward with the auction and removal of the items.
24             Debtor still has not removed the items, and seems to have the idea he can leave them
25   there indefinitely because of his bankruptcy filings.
26             Brackett is not making an effort to collect funds from Debtor. Brackett simply wants to
27   have its space back, free of Debtor’s items, so that it can cut its losses by re-letting the
28   premises.
                                                           -2-
     _______________________________________________________________________________________________________________

                                                     OPPOSITION
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1           2. ARGUMENT
2                   a. THERE IS NO AUTOMATIC STAY IN EFFECT, EITHER REGARDING THE
3                       REAL ESTATE OR THE ITEMS STORED.
4           11 USC 362 (b) provides, in part:
5                   The filing of a petition under section 301, 302, or 303 of this title, or of an
                    application under section 5(a)(3) of the Securities Investor Protection Act of
6
                    1970, does not operate as a stay-
7
                    (10) under subsection (a) of this section, of any act by a lessor to the debtor
8                   under a lease of nonresidential real property that has terminated by the
9
                    expiration of the stated term of the lease before the commencement of or during
                    a case under this title to obtain possession of such property;
10

11          Here, the lessor, Brackett, leased nonresidential real property to Debtor. That lease
12   expired in 2018, after which time Debtor has been a monthly tenant. Prior to the filing of this
13   Bankruptcy Petition, or the previous Petition, any interest that Debtor might have in the real
14   estate was forfeited by operation of the Superior Court Judgment.
15          Now, Brackett is still attempting to obtain possession of its real estate. Brackett’s right
16   and ability to make full and profitable use of the real estate is prevented by Debtor’s
17   unwillingness to remove his items of property. If Debtor does not remove the items in a
18   reasonable time, Brackett should be allowed to move forward with an auction.
19                  b. DEBTOR’S CHAPTER 13 WAS FILED IN BAD FAITH.
20          Debtor proposes a totally unworkable plan which cannot be confirmed, and does
21   nothing but delay creditors.
22          First, Debtor’s Schedule I (Docket # 27) lists monthly income at $10,500. Schedule J
23   lists monthly expenses at $10,360, leaving a monthly net income of $140. Meanwhile Debtor’s
24   Plan (Docket # 25) proposes monthly payments to the Trustee of $3,500.
25          Second, Debtor’s Chapter 13 Plan proposes to “assume” an “unexpired lease” of the
26   premises, and pay a “cure amount” of $136,000 over 60 months (which is less than the amount
27   of the judgment against Debtor). There is no lease to assume. Debtor was a month-to-month
28   tenant at the time he ceased paying rent, and any tenancy he might have an interest in has

                                                           -3-
     _______________________________________________________________________________________________________________

                                                     OPPOSITION
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1    been terminated by the Superior Court judgment.
2           3. CONCLUSION
3           For the foregoing reasons, Creditor Brackett requests that Debtor’s motion to extend the
4    stay be denied.
5
     Dated: 11/16/2022                      /s/ Douglas A. Crowder
6
                                            Douglas A. Crowder
7                                           Attorney for Creditor,
                                            Brackett Hangar LLC
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     _______________________________________________________________________________________________________________

                                                     OPPOSITION
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     Declaration of Ross Adachi
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1                                      DECLARATION OF ROSS ADACHI
2    Ross Adachi states:
3        1. I have personal knowledge of the matters herein stated, and if called as a witness, could
4           and would competently testify hereto.
5        2. I am the Manager of Brackett Hangar LLC (“Brackett”), one of the unsecured creditors
6           of the above named Debtor.
7        3. Debtor leased the premises located at 2015 McKinley Avenue, Hangar F3/Office F3, La
8           Verne, CA 91750 beginning on or about 3/1/2017. The lease was for a one year term,
9           and extended for an additional one year. Debtor has thus been a month-to-month
10          tenant since 3/1/2019.
11       4. Debtor ceased paying rent prior to June, 2020, and has not paid any since.
12       5. On or about 3/19/2021, Brackett served Debtor with a 3-Day Notice to Pay Rent or Quit.
13          The amount of unpaid rent at that time was $95,075.21. A copy of that Notice is
14          attached hereto as Exhibit A. Debtor paid no rent in response to that notice.
15       6. On 6/7/2021, Brackett filed an eviction lawsuit against Debtor, in the Superior Court of
16          California, County of Los Angeles, Case No. 21PSCV00470. According to a Proof of
17          Service signed by a registered process server, Debtor was personally served with the
18          summons and complaint on or about 6/21/2021.
19       7. Debtor did not file any response to the lawsuit, and on or about 1/27/2022, a Judgment
20          was entered against Defendant, a copy of which is attached hereto as Exhibit B. The
21          amount of the judgment was $155,181.06, and the judgment provided that “the rental
22          agreement is canceled,” and “the lease is forfeited.” On 8/10/22, the Court granted an
23          Order correcting a clerical error in the judgment, correcting the address of the premises
24          to 2015 McKinley Avenue, Hangar F3/Office F3, La Verne, CA 91750.
25       8. (On or about 11/2/2022, Debtor filed an ex parte motion with the L.A. Superior Court to
26          vacate the default judgment. I am informed that this motion was denied on or about
27          11/4/2022.0
28

                                                           -1-
     _______________________________________________________________________________________________________________

                                                   DECLARATION
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1        9. A Writ of Execution was issued by the Superior Court on 8/15/2022, under which
2           Brackett was entitled to possession of the premises, a copy of which is attached hereto
3           as Exhibit C.
4        10. At some time shortly after that, Debtor left the premises, however he left a great number
5           of items on the premises, including automobiles, a spray booth, and various items of
6           equipment.
7        11. On or about 9/13/22, Brackett provided Debtor with notice that he could remove the
8           items at any time prior to 10/3/22, after which time, the items would be disposed of by
9           sale or otherwise. A copy of that notice is attached as Exhibit D. It includes an
10          inventory of the property, but approximately 35 pages of photographs of the items are
11          omitted due to the size of the file.
12       12. Because of Debtor’s prior bankruptcy filing and his current one, Brackett has not gone
13          forward with the auction and removal of the items.
14       13. Debtor still has not removed the items, and seems to have the idea he can leave them
15          there indefinitely because of his bankruptcy filings.
16       14. Brackett is not making an effort to collect funds from Debtor. Brackett simply wants to
17          have its space back, free of Debtor’s items, so that it can cut its losses by re-letting the
18          premises.
19       15. I understand that Debtor’s Chapter 13 Plan proposes to “assume” an “unexpired lease”
20          of the premises, and pay a “cure amount” of $136,000 over 60 months (which is less
21          than the amount of the judgment against Debtor). There is no lease to assume. Debtor
22          was a month-to-month tenant at the time he ceased paying rent, and any tenancy he
23          might have an interest in has been terminated by the Superior Court judgment.
24       16. For the foregoing reasons, I respectfully request that the court deny Debtor’s motion to
25          continue the automatic stay.
26   This declaration made under penalty of perjury of the laws of the United States.
27
     Dated: ___________                              _________________________
28
                                                     Ross Adachi
                                                           -2-
     _______________________________________________________________________________________________________________

                                                   DECLARATION
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                Exhibit A
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                                         3 DAY
                              NOTICE TO PAY RENT OR QUIT

 TO: ZAHID SIDDIQI and all other occupants of the premises specified below

 WITHIN THREE DAYS after the service on you of this notice, you are hereby required to
 pay the rent of the premises hereinafter described, of which you now hold possession,
 amounting to the estimated sum of Ninety Five Thousand Seventy Five & 21/100
 DOLLARS ($95,075.21).

 OR QUIT AND DELIVER UP THE POSSESSION OF THE PREMISES.

 The premises herein referred to are situated in the city of La Verne, County of Los Angeles,
 State of California, designated by the number and street as:

                         1615 McKinley Avenue, Hangar F3/Office F3

 YOU ARE FURTHER NOTIFIED THAT IF YOU DO NOT COMPLY WITH EITHER OF
 THE ABOVE, the undersigned does hereby elect to declare the forfeiture of your lease or
 rental described premises and lessor will institute legal proceedings to recoverrent and
 possession of said premises.

 FURTHER, THE AMOUNT DEMANDED HEREIN SHALL BE DEEMED "ESTIMATED"
 PER CALIFORNIA CODE OF CIVIL PROCEDURE 1161.1(a).

 PURSUANT TO CCP 1161.1(a), A THREE-DAY NOTICE FOR NONPAYMENT OF RENT
 ON COMMERCIAL PROPERTY MAY STATE THE AMOUNT DUE AS AN ESTIMATE
 SO LONG AS THE AMOUNT IS “CLEARLY IDENTIFIED” BY THE NOTICE AS AN
 ESTIMATE.

 PLEASE BE ADVISED THAT OWNER/OWNER'S AGENT HEREBY EXPRESSLY
 RESERVES ANY AND ALL RIGHTS TO ACCEPT PARTIAL PAYMENTS WITHOUT
 WAIVING THE RIGHT TO SEEK POSSESSION OF THE SUBJECT PREMISES BASED
 ON THIS NOTICE. FURTHER, ACCEPTANCE OF PARTIAL PAYMENTS SHALL NOT
 BE DEEMED A WAIVER OF ANY AND/OR ALL RIGHTS INCIDENT TO THE
 RENTAL/LEASE BETWEEN THE PARTIES. (CALIFORNIA CODE OF CIVIL
 PROCEDURE 1161.1(b) et seq.).

 THIS IS FURTHER NOTICE THAT DELIVERY OF POSSESSION OF THE PREMISES,
 OR THE PAYMENT OF THE AMOUNTS DEMANDED IN THIS NOTICE,MUST BE
 PAYABLE AS INDICATED AND DELIVERED TO THE PERSON INDICATED AS
 FOLLOWS:

 PAYABLE TO: Brackett Hangar, LLC DELIVER TO: Kajima Development
 Corporation     ADDRESS: 250 E. 1st Street, Suite 301, Los Angeles, CA 90012
 TELEPHONE: (323) 262-8484
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 DURING NORMAL BUSINESS HOURS: MONDAY – FRIDAY: 8:00 A.M. TO 6:00 P.M.

 YOU ARE HEREBY NOTIFIED THAT A NEGATIVE CREDIT REPORT REFLECTING
 ON YOUR CREDIT REPORT MAY BE SUBMITTED TO A CREDIT REPORTING
 AGENCY IF YOU FAIL TO FULFILL THE TERMS OF YOUR CREDIT/RENTAL
 OBLIGATIONS.

 Dated this   19th          day of May, 2021



 By:
       Ross Adachi, Vice President,
       Kajima Development Corporation

 Brackett Hangar, LLC
 OWNER / LESSOR
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                 Exhibit B
             Case 2:22-bk-15750-WB                        Doc 35 Filed 11/16/22 Entered 11/16/22 19:04:23                                 Desc
                                                          Main Document    Page 12 of 22                                                            UD-110
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address):                                          FOR COURT USE ONLY

      WILLIAM D. JOHNSON, ESQ. State Bar Number 101708                                                          To keep other people from
      Johnson & Associates                                                                                     seeing what you entered on
      350 S. Figueroa St., Suite 190, Los Angeles, CA 90071                                                    your form, please press the
               TELEPHONE NO.: (213) 621-3000     FAX NO. (Optional): (213) 621-2900                           Clear This Form button at the
      E-MAIL ADDRESS (Optional): johnson@oslaw.com
                                                                                                             end of the form when finished.
         ATTORNEY FOR (Name): Plaintiff Brackett Hangar, LLC

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
             STREET ADDRESS: 400 Civic Center Plaza

             MAILING ADDRESS: 400 Civic Center Plaza

            CITY AND ZIP CODE: Pomona, 91766

                BRANCH NAME: Pomona Courthouse South

                 PLAINTIFF: BRACKETT HANGAR, LLC

               DEFENDANT:          ZAHID SIDDIQI and DOES 1-10
                                                                                                             CASE NUMBER:
                             JUDGMENT—UNLAWFUL DETAINER
                    By Clerk     ✔ By Default        After Court Trial                                                  21PSCV00470
             ✔ By Court                        Possession Only                     Defendant Did Not
                                                                                   Appear at Trial


                                                                                 JUDGMENT
1.      ✔     BY DEFAULT
              a. Defendant was properly served with a copy of the summons and complaint.
              b. Defendant failed to answer the complaint or appear and defend the action within the time allowed by law.
              c. Defendant's default was entered by the clerk upon plaintiff's application.
              d.      Clerk's Judgment (Code Civ. Proc., § 1169). For possession only of the premises described on page 2 (item 4).
               e.     ✔ Court Judgment (Code Civ. Proc., § 585(b)). The court considered
                            (1)      plaintiff's testimony and other evidence.
                            (2) ✔    plaintiff's or others' written declaration and evidence (Code Civ. Proc., § 585(d)).


2.            AFTER COURT TRIAL. The jury was waived. The court considered the evidence.
              a. The case was tried on (date and time):
                    before (name of judicial officer):

              b. Appearances by:
                           Plaintiff (name each):                                                      Plaintiff's attorney (name each):

                                                                                                       (1)

                                                                                                       (2)

                            Continued on Attachment 2b (form MC-025).

                            Defendant (name each):                                                     Defendant's attorney (name each):

                                                                                                       (1)

                                                                                                       (2)

                            Continued on Attachment 2b (form MC-025).

              c.            Defendant did not appear at trial. Defendant was properly served with notice of trial.

              d.             A statement of decision (Code Civ. Proc., § 632)                was not         was     requested.




                                                                                                                                                    Page 1 of 2
Form Approved for Optional Use                                                                                                Code of Civil Procedure, §§ 415.46,
  Judicial Council of California                          JUDGMENT—UNLAWFUL DETAINER                                                          585(d), 664.6, 1169
 UD-110 [New January 1, 2003]
             Case 2:22-bk-15750-WB        Doc 35 Filed 11/16/22 Entered 11/16/22 19:04:23 Desc
                                          Main Document    Page 13 of 22
       PLAINTIFF:      BRACKETT HANGAR, LLC                              CASE NUMBER:

                                                                                    21PSCV00470
 DEFENDANT:            ZAHID SIDDIQI and DOES 1-10
                  JUDGMENT IS ENTERED AS FOLLOWS BY:                                     THE COURT                  THE CLERK
3. Parties. Judgment is
       a.     ✔ for plaintiff (name each):       BRACKETT HANGAR, LLC

                    and against defendant (name each):
                    ZAHID SIDDIQI
                          Continued on Attachment 3a (form MC-025).
       b.           for defendant (name each):


4.      ✔ Plaintiff                 Defendant    is entitled to possession of the premises located at (street address, apartment, city, and county):
                                                 1615 McKinley Avenue, Hangar F3/Office F3
                                                 La Verne, County of Los Angeles, California 91750
5.      ✔ Judgment applies to all occupants of the premises including tenants, subtenants if any, and named claimants if any (Code Civ.
              Proc., §§ 715.010, 1169, and 1174.3).

6. Amount and terms of judgment
   a. ✔ Defendant named in item 3a above must pay plaintiff on the                          b.        Plaintiff is to receive nothing from defendant
          complaint:                                                                                  named in item 3b.
                                                                                                             Defendant named in item 3b is to recover
                       (1)     ✔     Past-due rent                   $ 95,075.21                             costs: $
                       (2)     ✔     Holdover damages                $ 56,610                                        and attorney fees: $            .
                       (3)     ✔     Attorney fees                   $ 3,406.85
                       (4)     ✔     Costs                           $ 897.00
                       (5)           Other (specify):                $


                       (6)    TOTAL JUDGMENT                         $   155181.06

       c.    ✔ The rental agreement is canceled.               ✔ The lease is forfeited.


7.            Conditional judgment. Plaintiff has breached the agreement to provide habitable premises to defendant as stated in
              Judgment—Unlawful Detainer Attachment (form UD–110S), which is attached.

8.            Other (specify):

                   Continued on Attachment 8 (form MC-025).

Date:
                                                                                                      JUDICIAL OFFICER


Date:                                                                        Clerk, by                                                       , Deputy

 (SEAL)                                                    CLERK'S CERTIFICATE (Optional)
                                         I certify that this is a true copy of the original judgment on file in the court.

                                         Date:


                                                                           Clerk, by                                                        , Deputy



     UD-110 [New January 1, 2003]
                                                        JUDGMENT—UNLAWFUL DETAINER                                                             Page 2 of 2


       For your protection and privacy, please press the Clear This Form
                    button after you have printed the form.                            Save This Form          Print This Form      Clear This Form
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                 Exhibit C
    Case 2:22-bk-15750-WB                                     Doc 35 Filed 11/16/22 Entered 11/16/22 19:04:23                                                           Desc
                                                              Main Document    Page 15 of 22
                                                                                                                                                                        EJ-130
ATTORNE Y OR PARTY WITHOUT ATTO RNEYf                         STATE BAR Nou   101780                                              FOR COVET VSE ONLY
NAME'illiam D. Johnson, Esq.
FIRM NAME      Johnson               &   Associates
STREETADDREBS 350 S. Figueroa St., Suite 190
cnv Los Angeles                              mAm. CA                             zif   coos 90071
TELEPHONE NO (213) 621-3000                  FAX NOJ

EuniLADDRms johnsonteloslaw.corn
ATTORNEYFOR(
      ~X      ATTORNEY FOR
                           e)f       BRACKETT HANGAR, LLC
                                          ~x    OIEGINALJUDGMENTCREDITOR

8UPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                           ~        ASSIGNEEOF RECORD


 sTREETADDREss 400 Civic Center Plaza
 MAILING ADDREss 400 Civic Center Plaza
CITYANDZIPCDDEf            Pomona 91766
       BRANcH NAME         Pomona Courthouse South
    PLAINTIFF/PETITIONER: BRACKETT HANGAR, LLC                                                                  CASE NUMBER.
                                                                                                                21PSCV00470
    DEFENDANT/RESPONDENT; ZAHID SIDDIQI


WRIT OF ~x
                     ~               EXECUTION (Money Judgment)
                                 POSSESSION OF                ~    Personal Property
                                                                                                                ~     Limited Civil Case
                                                                                                                      (including Small Claims)

                     ~           SALE                         ~x Real Property                                  ~x    Unlimited Civil Case
                                                                                                                      (including Family and Probate)

1. To the Sheriff or Marshal of the County of: Los Angeles
   You are directed to enforce the judgment described below with daily interest and your costs as provided by law.
2 To any registered process server: You are authorized to serve this writ only in accordance with CCP 699.080 or CCP 715 040.
3. (Name): BRACKETT HANGAR, LLC
   is the ~x    original judgment creditor
4. Judgment debtor (name, type of/ega/ entityif nota
                                                                ~
                                                  assignee of record whose address is shown on this form above the court's name.
                                                                                       ~x Wnt of Possession/Writ of Sale information on next page.
   naiuml person, and last known address):
                                                                               9.
                                                                               10.     ~  This writ is issued on a sister-state judgment.
                                                                               For items 11 — 17, see form MC-012 and form MC-013-INFO.
        ahid Siddiqi
       1155 South Grand Ave., Unit 1108                                        11. Total judgment (as entered or renewed)           $           155,181.06
       Los Angeles, CA 90015                                                   12. Costs aher judgment (CCP 685.090)                        $



                                                                       J
                                                                                13. Subtotal (add 11 and 12)                                $                     155,181.06
                                                                               14. Credits to principal (a/fer credit to Interest)          $
               Additional judgment debtors on next page                        15. principal remaining due (subtract 14 fiom 13)            $
                                                                               16. Accrued interest remaining due per                       $                           7,866.20
                                                                                   CCP 685.050(b) (not on GC 6103.5 fees)
                                                                               17. Fee for issuance of writ (per GC 70626(a)(lj)            $                          40.00
                                                                               18. Total amount due (edd 15, 16, and 17)                    $                     163,087.26
                                                                               19. Levying officer:
7. Notice of sale under this writ:
                                                                                   a. Add daily interest from date of writ (at
                                                                                      the legal rate on 15) (not on


      ~~
       a.    ~x       has not been requested.                                         GC 6103.5        feesj................                $
       b.             has been requested (see next page)                                                                                                                         cc
                                                                                   b. Pay directly to court costs included in
8.             Joint debtor information on next page.                                 11 and 17 (GC 6103.5, 68637;

    ISEALI
                                                                                      CCP 699.520(j))           ................            $      00.00 cc
                                                                                20.~ The amounts called for in items           19 are different for each
                                                                                                                                 11 —
                                                                                            debtor. These amounts are stated for each debtor on
                                                                                            Attachment 20.



                                                      Date:                                         Clerk, by                                                       ,   Deputy
                                                       NOTICE TO PERSON SERVED: SEE PAGE 3 FOR IMPORTANT INFORMATION.
                                                                                                                                                                        P 0   Iofe
F     App ved f      Opl         I   U
                                                                           WRIT OF EXECUTION                                   code of clvs Pfooedufe, N 000 020, 712 010 710 010
Jude el Counul of C le                                                                                                                                 G        nt ON, I 0103.0
EJ-130 IR     S pt    I     I, 2020]                                                                                                                                 uuv. 0 v
  Case 2:22-bk-15750-WB                                Doc 35 Filed 11/16/22 Entered 11/16/22 19:04:23                                    Desc
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                                                                                                                                          EJ-130
 Plaintiff/Petitioner: SRACKETT HANGAR,               LLD                                       CASE NUMBER

 Defendant/Respondent:                ZAHID SIDDIQI                                             21PSCV00470


21.   ~           Additional judgment debtor(s) (nsme, type of legal entity if not s natural person, snd last known address)i




22. The judgment is for (check ane)i
                                                                       J              L
       a.
       b.
                ~
                ~          wages owed.
                           child support or spousal support.
       c.       ~x         other. Unlawful Detainer

23.   ~          Notice of sale has been requested by (name snd address)




24.
      L
      ~                                                                J
            Joint debtor was declared bound by the judgment (CCP 989-994)
      a. on (dsts)i                                                     a. on (date)i
      b. name, type of legal entity if not a natural person, and        b. name, type of legal entity if not a natural person, and
         last known address of joint debtor:                               last known address of joint debtor.




      L~
      c.
                                                                       J
                       Additional costs against certain joint debtors are itemized:
                                                                                      L
                                                                                      ~    below    ~    on Attachment 24c.
                                                                                                                                            J
25.   ~x          (Writ of Possession or Writ of Sale) Judgment was entered for the following:
      a.    ~x        Possession of real property: The complaint was filed on (date)i
                       (Check (1) or (2). Check (3) if applicable. Complete (4) if (2) or (3) have been checked j
            (1)    ~x The Prejudgment Claim af Right to Possession was served in compliance with CCP 415.46. The
                           judgment includes all tenants, subtenants, named claimants, and other occupants of the premises.
            (2)
            (3)
                     ~
                     ~     The Prejudgment C/aim af Right to Possession was NOT served in compliance with CCP 415.46.
                          The unlawful detainer resulted from a foreclosure sale of a rental housing unit. (An occupant not named in the
                          judgment may file a Claim of Right to Possession at any time up to and including the time the levying officer returns
                          to effect eviction, regardless of whether a Prejudgmenl Claim of Right lo Possession was served ) (See CCP
                          415.46 snd 1174.3(a)(2).j
            (4)    If the unlawful detainer resulted fram a foreclosure (item 25a(3)), or if the Prejudgment Claim of Right to Possession was
                   not served in compliance with CCP 415.46 (item 25a(2)), answer the following:
                     (a)      The daily rental value on the date the complaint was filed was $ 314.50
                     (b)      The court will hear objections to enforcement of the judgment under CCP 1174.3 on the fallowing dates (specify)i




                                                               item 25 continued on next page
El-130 [R   .   S Pt   i    2,2020]                               WRIT OF EXECUTION                                                      POSO   2 Of 3
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                                                                                                                                      EJ-130
 Plaintiff/Petitioner: BRACKETT HANGAR, LLC                                            CASE NUMBER

Defendant/Respondent:              ZAHID SIDDIQI                                       21PSCV00470


25. b.   ~   Possession of personal properly.
                     If delivery cannot be had, then for the value (itemize in 25e) specified   in   the judgment or supplemental order.
    c.   ~
         ~   Sale of personal property.
    d.       Sale of real property.
    e. The property is described       ~x below          ~    on Attachment 25e.

            2015 McKinley Avenue, Hangar F3/Office F3
            La Veme, County of Los Angeles, California 91750




                                                        NOTICE TO PERSON SERVED

WRIT OF EXECUTION OR SALE. Your nghts and duties are indicated on the accompanying Notice                   of Levy (form EJ-150).

WRIT OF POSSESSION OF PERSONAL PROPERTY. If the levying officer is not able to take custody of the properly, the levying
officer will demand that you tum over the properly. If custody is not obtained following demand, the iudgment may be enforced as a
money judgment for the value of the property specified in the judgment or in a supplemental order.

WRIT OF POSSESSION OF REAL PROPERTY. If the premises are not vacated within five days afier the date ot service on the
occupant or, if service is by posting, within five days after service on you, the levying officer will remove the occupants from the real
property and place the judgment creditor in possession of the properly. Except for a mobile home, personal property remaining on the
premises will be sold or otherwise disposed of in accordance with CCP 1174 unless you or the owner of the property pays the
judgment creditor the reasonable cost of storage and takes possession of the personal property not later than 15 days afier the time
the judgment creditor takes possession of the premises.

EXCEPTION IF RENTAL HOUSING UNIT WAS FORECLOSED. If the residential property that you are renting was sold in a
foreclosure, you have additional time before you must vacate the premises. If you have a lease for a fixed term, such as for a year, you
may remain in the property until the term is up. If you have a periodic lease or tenancy, such as from month-to-month, you may remain
in the property for 90 days after receiving a notice to quit. A blank form Claim of Right to Possession and Notice of Hearing (form
CP10) accompanies this wriit. You may Maim your right to remain on the property by filling it out and giving it to the shenff or levying
officer.


EXCEPTION IF YOU WERE NOT SERVED WITH A FORM CALLED PREJUDGMENT CLAIM OF RIGHT TO POSSESSION. If you
were not named in the judgment for possession and you occupied the premises on the date on which the unlawful detainer case was
filed, you may object to the enforcement of the judgment against you. You must complete the form Claim of Right to Possession and
Notice of Hearing (form CP10) and give it to the sheriff or levying officer. A blank form accompanies this writ. You have this right
whether or not the property you are renting was sold in a foreclosure.




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                Exhibit D
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
303 N. Glenoaks Blvd., Suite 200
Burbank, CA 91502
A true and correct copy of the foregoing document entitled (specify):
OPPOSITION TO MOTION FOR ORDER CONTINUING THE AUTOMATIC STAY;
DECLARATION OF ROSS ADACHI

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_11/16/2022____, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
    Nancy K Curry (TR) TrusteeECFMail@gmail.com
    Arvind Nath Rawal arawal@aisinfo.com
    Karel Rocha krocha@pnbd.com, jmiller@pnbd.com
    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __11/16/22_____________,
I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

By email to Debtor - Zee Siddiqi <zeedesignz@gmail.com>
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/16/2022                       Douglas A. Crowder                                            /s/ Douglas A. Crowder
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
